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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

Claudia Arely Molina de Ramirez,
Petitioher-Plaintiff,

v. Case NO. ltlS-Cv-01516

]efferson Beauregard Sessions III, in his

Official Capacity as Attorney General of
the United States, et al, '

\_/\./\/\/\_/\./- \./\/\./V\_/

Respondents-Defendants.

[PROP 131 ORDER

Upon consideration of the l\/lotion for Extension Of Time to Respond to
Defendants' l\/lotion to Dismiss, it is hereby ORDERED that`the Plaintiff's Consent
l\/lotion for Extension to Respond is hereby GRANTED.

lT lS FURTHER ORDERED that Plaintiff's Reply to Defendants' Motion to
Disrniss shall be filed no later than October 5, 2018.

SO ORDERED.

DATED; september 2_",}”2018.

@Mc .Z_J/@r_"

HONORABLE PAUL L. FRlEDl\/IAN
United States District judge

